Case 1:14-ml-02570-RLY-TAB Document 22490
                                    22337 Filed 08/04/22
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                                                                                              Aug 04, 2022
                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION                                See exhibit A
__________________________________________                                      for case list
IN RE: COOK MEDICAL, INC, IVC FILTERS
MARKETING, SALES PRACTICES AND                Master Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                 MDL No. 2570
__________________________________________

This Document Relates to:
Plaintiffs identified in Exhibit A



             OMNIBUS STIPULATION FOR DISMISSAL WITH PREJUDICE



        The 103 Plaintiffs listed in Exhibit A and Defendants Cook Incorporated, Cook Medical

LLC (f/k/a Cook Medical Incorporated), and William Cook Europe ApS (collectively, the “Cook

Defendants”) 1 hereby stipulate, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), that

Plaintiffs’ claims against all Cook Defendants shall be dismissed with prejudice in their entirety.

Each party shall bear its own fees and costs.

        Counsel for Plaintiffs listed in Exhibit A, David Matthews, and counsel for the Cook

Defendants, Andrea Roberts Pierson, consent to the dismissal of the claims of Plaintiffs listed in

Exhibit A via this Omnibus Stipulation for Dismissal with Prejudice.

        Dated this 8th day of July 2022.


1
 The Parties consent that to the extent there are any other named defendants affiliated or related to Cook
Incorporated, Cook Medical LLC (f/k/a Cook Medical Incorporated), and William Cook Europe ApS
shall also be dismissed. Such other named defendants may include Cook Group, Inc., Medical
Engineering and Development Institute, Inc. (now known as Cook Research Incorporated), Cook Medical
Technologies, Cook Denmark International ApS, Cook Denmark Holdings ApS, Cook Group Europe
ApS, Cook Nederland BV, CMI Real Estate Holdings, LLC, Cook Canton, LLC, Cook Shared Services,
Inc., CGI Real Estate Holdings, LLC, Cook Europe Finance BV, Cook Sweden Hold-ing AB, and Cook
Nederland Holding Cooperatief U.A, and all of their predecessors and successors in interest, parent
companies, subsidiaries, affiliates, divisions, nominees, and related entities in which they have an interest,
as well as their insurers and all of their past, present, and future officers, directors, stockholders,
attorneys, agents, representatives, employees, partners, assigns, distributors, and sales representatives.

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